                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                           *
                                                   *
v.                                                 * CRIMINAL NO. GLR-19-0456
                                                   *
WILLIAM CUNNINGHAM                                 *
                                                   *
       Defendant                                   *
                                               *******

                GOVERNMENT’S MOTION FOR PROTECTIVE ORDER
               REGARDING DISCLOSURE OF DISCOVERY MATERIALS

       The United States of America, by and through undersigned counsel, respectfully moves the

Court pursuant to Federal Rule of Criminal Procedure 16(d)(1) for a Protective Order restricting

copying and dissemination of materials related to law enforcement internal affairs records

disclosed to defense counsel. A proposed Protective Order is attached. In support of this motion,

the Government states as follows:

       1.      Defendant is charged with possession of a firearm by a prohibited person, in

violation of 18 U.S.C. § 922(g). The Government intends to call at least one law enforcement

witness during the motions hearing and/or trial. The Government has reviewed records maintained

by the internal affairs divisions (“IAD”) of the relevant law enforcement agencies. Although the

Government does not believe all such information to be Giglio material, the Government

nevertheless wishes to make some of those records available to defense counsel for inspection out

of an abundance of caution. The Government will also make the IAD materials in question

available to the Court for in camera review.

       2.      The IAD records contain non-public information about the subject officer, as well

as other individuals. In order to balance the Government’s desire to make disclosures to defense

counsel with the officers’ privacy interests, the Government is seeking a protective order.
       3.      Federal Rule of Criminal Procedure 16(d)(1) states that “the court may, for good

cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief.” Fed. R.

Crim. P. 16(d)(1). The Government hereby moves pursuant to Rule 16(d)(1) for a Protective Order

restricting defense counsel from making copies of the IAD Records when shown them by the

Government. The Government further requests that, in the event the Government provides a copy

of the IAD Records to defense counsel, that the Protective Order prohibit defense counsel from

making additional copies of or further disseminating the IAD records and require defense counsel

to maintain the IAD records consistent with the provisions of the Order, particularly Paragraph 6.

       4.      Neither the Government’s submission of this Proposed Order, nor defense

counsel’s agreement to it, constitutes an admission by either party as to the admissibility of such

records. In the event defense counsel seeks to use information contained in the disclosed IAD

records in court, the Government may file a motion to preclude such use. The Court can then make

a determination as to whether any information contained within the IAD records may be used

during cross-examination.

       5.      Any inconvenience occasioned by the restrictions of the Protective Order is

outweighed by the risks presented by the free dissemination of the IAD records. Restricting the

copying and dissemination of the IAD records appropriately balances Defendant’s interest in

access to information related to the background of the Government’s law enforcement witnesses

with the privacy interests associated with those records.

       6.      The Government has consulted with defense counsel, who declines to take a

position on the Government’s motion at this time.
       WHEREFORE, the Government respectfully requests that this Court, pursuant to Rule

16(d)(1) of Federal Rules of Criminal Procedure, grant the Government’s Motion for a Protective

Order as specified above and enter the attached proposed Protective Order.




                                                   Respectfully submitted,

                                                   Robert K. Hur
                                                   United States Attorney

                                              By: ________/s/______________________
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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 1st day of October, 2020, a copy of the foregoing Motion for

Protective Order was served via CM/ECF to all counsel of record.



                                                  _____/s/_________________________
                                                  Julie D. Podlesni
                                                  Special Assistant United States Attorney
